
In re Crane, Darrell; Crane, Beverly Si-meon; Stewart, Jeramy; — Plaintiff(s); applying for writ of certiorari and/or review; to the Court of Appeal, First Circuit, No. CA91 1627; Parish of East Baton Rouge, 19th Judicial District Court, Div. “A”, No. 339,123.
The application is granted in part, and the case is remanded to the court of appeal to reconsider the reduction of plaintiffs recovery in the light of Gauthier v. O’Brien, 618 So.2d 825 (La.1993). Otherwise, the application is denied.
DENNIS, J., dissents for the reasons he assigned in Gauthier v. O’Brien.
WATSON, J., not on panel.
